   Case 2:20-cv-08663-FMO-JC Document 14 Filed 11/12/20 Page 1 of 2 Page ID #:30

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.          CV 20-8663 FMO (JCx)                               Date    November 12, 2020
 Title             Carmen John Perri v. Gila Bend Investments, LLC, et al.




 Present: The Honorable          Fernando M. Olguin, United States District Judge
          Vanessa Figueroa                                None                          None
                Deputy Clerk                    Court Reporter / Recorder             Tape No.
           Attorney Present for Plaintiff(s):                Attorney Present for Defendant(s):
                      None Present                                     None Present
 Proceedings:              (In Chambers) Order to Show Cause re: Proofs of Service

        On October 7, 2020, the court issued its Standing Order Re: ADA Accessibility Cases, (see
Dkt. 11, Court’s Order of October 7, 2020), which ordered Carmen John Perri (“plaintiff”) to file a
proof of service demonstrating service of the complaint and summons on defendant “within 93
days of the filing of the case absent a previously approved extension of time by the court.” (Id. at
2). The court admonished plaintiff that “failure to file the proof of service within 93 days after the
filing of the case shall result in the dismissal of the action and/or the defendant that has not
appeared in the case and for which plaintiff has not filed a proof of service.” (Id.) (citing Fed. R.
Civ. P. 4 & 41(b); Link v. Wabash R.R. Co., 370 U.S. 626, 629-30, 82 S.Ct. 1386, 1388 (1962)).

       Here, plaintiff filed a proof of service as to De La Torre Investment Properties, LLC (“De La
Torre”), on October 22, 2020, (see Dkt. 12, Proof of Service [as to De La Torre]), and a proof of
service as to Gila Bend Investments, LLC (“Gila”), on October 27, 2020, (see Dkt. 13, Proof of
Service [as to Gila]), but the proofs of service do not comply with Federal Rule of Civil Procedure
4(h). Rule 4 provides that a plaintiff may serve a corporation or other unincorporated entity with
a summons and complaint by: (1) “following state law for serving a summons in an action brought
in courts of general jurisdiction in the state where the district court is located or where service is
made”; or (2) “by delivering a copy of the summons and of the complaint to an officer, a managing
or general agent, or any other agent authorized by appointment or by law to receive service of
process and – if the agent is one authorized by statute and the statute so requires – by also
mailing a copy of each to the defendant[.]” Fed. R. Civ. P. 4(h); 4(e)(1).

        Both proofs of service indicate that plaintiff attempted to serve De La Torre and Gila
(collectively, “defendants”) by substitute service. (See Dkt. 12, Proof of Service [as to De La
Torre]; Dkt. 13, Proof of Service [as to Gila]). “Under California Code of Civil Procedure section
415.20(a), substitute service may be made on an entity defendant in California by leaving a copy
of the summons and complaint during usual office hours in the office of the president of the
corporation or in the office of the person designated as agent for service of process.” Produce
v. California Harvest Healthy Foods Ranch Market, 2012 WL 259575, *3 (N.D. Cal. 2012). Here,
for each defendant, the complaint and summons were left at “305 N. Soto St. Suite D Los Angeles,
CA 90033 (Cousins Realty)” with “Sandra Doe (hispanic female brown hair brown eyes [ ]) -
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                             Page 1 of 2
   Case 2:20-cv-08663-FMO-JC Document 14 Filed 11/12/20 Page 2 of 2 Page ID #:31

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       CV 20-8663 FMO (JCx)                                    Date    November 12, 2020
 Title          Carmen John Perri v. Gila Bend Investments, LLC, et al.

authorized to accept[.]” (Dkt. 12, Proof of Service [as to De La Torre]; Dkt. 13, Proof of Service
[as to Gila]). Such service is clearly insufficient. Indeed, plaintiff does not allege any connection
between defendants and “Cousins Realty” or the 305 N. Soto St. address. (See, generally, Dkt.
1, Complaint).

         Based on the foregoing IT IS ORDERED THAT:

         1. The proofs of service (Documents No. 12 and 13) are hereby stricken.

       2. Plaintiff shall file valid proofs of service no later than November 23, 2020. Plaintiff is
cautioned that failure to timely file a valid proof of service shall result in this action being dismissed
without prejudice for failure to effect service, for lack of prosecution and/or failure to comply with
the orders of the court. See Fed. R. Civ. P. 4 & 41; Link v. Wabash R.R. Co., 370 U.S. 626, 629-
30, 82 S.Ct. 1386, 1388 (1962).




                                                         Initials of Preparer             vdr




CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                  Page 2 of 2
